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12
                               UNITED STATES DISTRICT COURT
13
                          CENTRAL DISTRICT OF CALIFORNIA
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15
     BACKGRID USA, INC., a                 Case No.: 2:20-cv-04685
16   California corporation,
17                                         COMPLAINT FOR:
                    Plaintiff,               (1) COPYRIGHT
18
                                                 INFRINGEMENT (17 U.S.C. §
19          v.                                   501)
                                             (2) FALSIFICATION OF
20   JUSTIN BIEBER, an individual; and           COPYRIGHT
21   DOES 1-10, inclusive,                       MANAGEMENT
                                                 INFORMATION (17 U.S.C. §
22
                                                 1202(A))
                    Defendants.
23                                           (3) REMOVAL OF COPYRIGHT
24                                               MANAGEMENT
                                                 INFORMATION (17 U.S.C. §
25                                               1202(B))
26
                                           DEMAND FOR JURY TRIAL
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                                       COMPLAINT
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 1         Plaintiff, Backgrid USA, Inc., complains against Defendant Justin Bieber,
 2   an individual, and DOES 1-10 (collectively, “Defendants”) as follows:
 3
 4                             JURISDICTION AND VENUE
 5         1.       This is a civil action against Defendants for acts of copyright
 6   infringement under the Copyright Act, 17 U.S.C. §§ 101 et seq. and for acts of
 7   falsification and removal of copyright management information in violation of 17
 8   U.S.C. § 1202. This Court has subject matter jurisdiction under 28 U.S.C. §
 9   1331, 17 U.S.C. § 501(a), and 28 U.S.C. § 1338(a) and (b).
10         2.       Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c)
11   and 28 U.S.C. § 1400(a) in that the claim arises in this judicial district, and, on
12   information and belief, the Defendants and their agents reside and may be found
13   in this judicial district, and the injury suffered by Plaintiff took place in this
14   judicial district. Defendants are subject to the general and specific personal
15   jurisdiction of this Court because of their contacts with the State of California.
16                                         PARTIES
17         3.       Plaintiff Backgrid USA Inc. (“Backgrid”) is a California corporation
18   existing under the laws of California, with its principal place of business located
19   in Redondo Beach, California.
20         4.       On information and belief, Defendant Justin Bieber (“Bieber” or
21   “Defendant”) is a resident of Los Angeles, California.
22         5.       The true names or capacities, whether individual, corporate or
23   otherwise, of the Defendants named herein as DOES 1 through 10, inclusive, are
24   unknown to Plaintiff, who therefore sues said Defendants by such fictitious
25   names. Plaintiff will ask leave of Court to amend this Complaint and insert the
26   true names and capacities of said Defendants when the same have been
27   ascertained.
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                                          COMPLAINT
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 1                       FACTS COMMON TO ALL COUNTS
 2                Backgrid and the Photographs that Frame This Dispute
 3         6.     Backgrid owns and operates one of Hollywood’s largest celebrity-
 4   photograph agencies that has earned a reputation of regularly breaking scoops on
 5   sought after celebrity news. It owns the intellectual property rights, including the
 6   copyrights, to celebrity photographs that have been licensed to numerous top-tier
 7   outlets, such as TMZ, Entertainment Tonight, New York Post, People Magazine,
 8   Huffington Post, the Daily Mail, as well as many television stations, newspapers
 9   and other prominent media outlets throughout the world. Each license has been
10   granted for valuable consideration, up to hundreds of thousands of dollars.
11         7.     Among many other in-demand photographs, Backgrid owns coveted
12   photographs of Grammy award winning singer and songwriter Justin Bieber
13   (hereinafter the “Bieber Photographs”). Bieber has been listed by Forbes as one
14   of the top ten most powerful celebrities four times and has gained worldwide
15   attention as a Millennial heartthrob.
16         8.     Backgrid filed for copyright registration of certain Bieber
17   Photographs within 90 days of their first publication with the United States
18   Copyright Office, registration numbers VA0002165194, VA0002177912,
19   VA0002177977, VA0002178392, VA0002178393, VA0002179064,
20   VA0002188241, VA0002190649, VA0002190653, VA0002197548,
21   VA0002197859, and VA0002197862. All rights, title and interest in the Bieber
22   Photographs (the photographs at issue in this case), including but not limited to
23   the copyrights thereon, are owned by Backgrid.
24                     Defendant and His Willful Infringing Activity
25         9.     Bieber is a superstar singer and songwriter who, on information and
26   belief, has sold 140 million records making him one of the best-selling musical
27   acts. On information and belief Defendant Bieber is a sophisticated publisher of
28   intellectual property who has depended on the protections afforded to him by the
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                                         COMPLAINT
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 1   Copyright Act throughout his career. As such, he is intimately familiar with the
 2   scope and limitations of Copyright protections.
 3         10.    On information and belief, to keep his fans engaged and to increase
 4   the goodwill of his celebrity, Bieber operates an Instagram account located at
 5   instagram.com/justinbieber. Bieber has publicly acknowledged the value of his
 6   Instagram account, once saying “Now there’s, like, no mystery [with
 7   celebrities]—the fans want the connection, they want to see you Instagramming
 8   at a coffee shop in the morning.” To date, Bieber has at least 136 million fans
 9   who receive instant updates to his account when he posts new photographs. Each
10   posted photograph elicits thousands, and frequently, hundreds of thousands of
11   comments from fans. Moreover, the account is not private, so anyone, including
12   those who do not “follow” his account, has access and can view the uploaded
13   photographs, including the photographs at issue in this lawsuit.
14         11.    Bieber violated federal law by willfully infringing Backgrid’s
15   copyrights to at least 14 photographs on, at least, Bieber’s Instagram account.
16   Attached hereto as Exhibit A-1 and A-2 and incorporated herein by reference are
17   true and correct screenshots of Bieber’s Instagram account, including screen
18   shots of the 14 infringed photographs at issue in this lawsuit.
19         12.    Bieber was on notice that his infringement was unlawful and, as
20   such, his conduct is willful. Among other things, while the parties were
21   attempting to reach a resolution to the infringement showed in Exhibit A-1, many
22   months prior to this case being filed, Bieber infringed at least four additional
23   photographs during those settlement discussions. The new infringements are
24   shown in Exhibit A-2. Moreover, on information and belief, Bieber has received
25   complaints from other copyright holders regarding the exact same copyright
26   infringement conduct involving other photographs. In light of being on notice
27   that his conduct is unlawful, he continued to infringe.
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                                          COMPLAINT
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 1         13.    Moreover, Bieber induced, caused, or materially contributed to the
 2   reproduction, distribution and public display of the Bieber Photographs, and
 3   derivatives thereof, all while knowing or having reason to know of the
 4   infringement on his account was without permission, consent, or license. By
 5   uploading the Bieber Photographs to the account, Bieber encourages his fans to
 6   “share” the photographs, thus, causing others to also willfully infringe and
 7   multiplying the harm to Backgrid.
 8         14.    On information and belief, Bieber operates and controls his
 9   Instagram account at all times relevant to this dispute and financially benefits
10   from the infringement of the Bieber Photographs displayed thereto. On
11   information and belief, Bieber has driven significant traffic to his Instagram
12   account in large part due to the presence of the sought after and searched-for
13   Bieber Photographs that frame this dispute. All of this traffic translates into
14   substantial ill-gotten commercial advantage and brand awareness as a direct
15   consequence of their infringing actions.
16                            FIRST CLAIM FOR RELIEF
17                      (Copyright Infringement, 17 U.S.C. § 501)
18         15.    Backgrid incorporates hereby reference the allegations in paragraphs
19   1 through 14 above.
20         16.    Backgrid is the owner of all rights, title, and interest in the
21   copyrights of the Bieber Photographs that frame this dispute, which substantially
22   consist of material wholly original and which are copyrightable subject matter
23   under the laws of the United States.
24         17.    Backgrid filed for copyright registration of the Bieber Photographs
25   within 90 days of their first publication with the United States Copyright Office.
26         18.    Defendants have directly, vicariously, contributorily and/or by
27   inducement willfully infringed Backgrid’s copyrights by reproducing, displaying,
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                                          COMPLAINT
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 1   distributing, and utilizing the Bieber Photographs for purposes of trade in
 2   violation of 17 U.S.C. § 501 et seq.
 3         19.    All of the Defendants’ acts are and were performed without
 4   permission, license, or consent of Backgrid.
 5         20.    Backgrid has identified at least 14 instances of infringement by way
 6   of unlawful reproduction and display of Backgrid’s photographs (as well as the
 7   unlawful facilitation of other’s reproduction of its photographs).
 8         21.    As a result of the acts of Defendants alleged herein, Backgrid has
 9   suffered substantial economic damage.
10         22.    Defendants have willfully infringed, and unless enjoined, will
11   continue to infringe Backgrid’s copyrights by knowingly reproducing, displaying,
12   distributing, and utilizing its photographs by, among other things, virtue of
13   Bieber’s encouragement of the infringement and financial benefit it receives
14   Backgrid’s copyrights.
15         23.    The wrongful acts of Defendants have caused, and are causing,
16   injury to Backgrid, which cannot be accurately computed, and unless this Court
17   restrains Defendants from further commission of said acts, Backgrid will suffer
18   irreparable injury, for all of which it is without an adequate remedy at law.
19   Accordingly, Backgrid seeks a declaration that Defendants are infringing
20   Backgrid’s copyrights and an order under 17 U.S.C. § 502 enjoining Defendant
21   from any further infringement.
22         24.    The above-documented infringements alone would entitle Backgrid
23   to a potential award of up to $2,100,000 in statutory damages for the at-least 14
24   infringed photographs, in addition to its attorney’s fees.
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26   ///
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                                            COMPLAINT
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 1                             SECOND CLAIM FOR RELIEF
 2               (Falsification of Copyright Management Information,
 3                              17 U.S.C. § 1202(a) et seq.)
 4         25.    Plaintiff incorporates here by reference the allegations in paragraphs
 5   1 through 24 above.
 6         26.    The copyright owner of the work constitutes “copyright
 7   management information” as defined under 17 U.S.C. § 1202(c)(2) & (3).
 8         27.    The Bieber Photographs are published with the ownership credit.
 9   Defendants falsified CMI, including the the authorship information and the
10   ownership information by making it appear as though Defendants are the true
11   owners of the Bieber Photographs.
12         28.    As such, Backgrid is informed and believes and on that basis alleges
13   that Defendants, without the knowledge or authority of Backgrid or the law, and
14   with the intent to induce, enable, facilitate and/or conceal infringement of
15   Backgrid’s copyright or, having reasonable grounds to know that it would induce,
16   enable, facilitate and/or conceal infringement of Backgrid’s copyright,
17   intentionally falsified and/or caused or induced others to falsify copyright
18   management information from Backgrid’s Bieber Photographs, and/or distributed
19   or imported Backgrid’s Bieber Photographs and/or caused or induced others to
20   distribute or import Backgrid’s Bieber Photographs with knowledge of the
21   falsification of Backgrid’s copyright management information, and/or distributed
22   or imported for distribution Bieber Photographs with knowledge of the
23   falsification of copyright management information in violation of 17 U.S.C. §
24   1202(a)(1)-(3).
25         29.    Defendants’ falsification of copyright management information for
26   the Bieber Photographs and subsequent distribution and public display of the
27   Bieber Photographs was willful and intentional, and was and is executed with full
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                                         COMPLAINT
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 1   knowledge of Backgrid’s rights under copyright law, and in disregard of
 2   Backgrid’s rights.
 3          30.       Backgrid is entitled to recover its actual damages suffered as a result
 4   of the violation and any profits of Defendants attributable to the violation and not
 5   taken into account in computing actual damages, or, at Backgrid’s election,
 6   statutory damages, pursuant to 17 U.S.C. § 1203(c), of up to $25,000 per act of
 7   falsification.
 8          31.       Backgrid is entitled to recover costs and attorneys’ fees from
 9   Defendants pursuant to 17 U.S.C. § 1203(b)(4) and (5).
10          32.       Defendants’ violation of 17 U.S.C. § 1202(a) has caused, and, unless
11   restrained by this Court, will continue to cause, irreparable injury to Backgrid not
12   fully compensable in monetary damages. Pursuant to 17 U.S.C. § 1203(b),
13   Backgrid is entitled to a preliminary and permanent injunction enjoining
14   Defendants from further such violations.
15                               THIRD CLAIM FOR RELIEF
16                     (Removal of Copyright Management Information,
17                                  17 U.S.C. § 1202(b) et seq.)
18          33.       Plaintiff incorporates here by reference the allegations in paragraphs
19   1 through 32 above.
20          34.       The name of, and other identifying information about, the author of
21   a work and the copyright owner of the work constitutes “copyright management
22   information” as defined under 17 U.S.C. § 1202(c)(2) & (3).
23          35.       In conjunction with their distribution and public display, Defendants
24   have knowingly removed CMI, including the authorship and ownership
25   information. By taking off CMI, Defendants knowingly mislead people as to the
26   author and owner of the Bieber Photographs, and attempt to cover up his own
27   infringement.
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                                             COMPLAINT
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 1         36.    As such, Backgrid is informed and believes and on that basis alleges
 2   that Defendants, without the knowledge or authority of Backgrid or the law, and
 3   with the intent to induce, enable, facilitate and/or conceal infringement of
 4   Backgrid’s copyright or, having reasonable grounds to know that it would induce,
 5   enable, facilitate and/or conceal infringement of Backgrid’s copyright,
 6   intentionally removed and/or caused or induced others to remove copyright
 7   management information from the Bieber Photographs, and/or distributed or
 8   imported the Bieber Photographs and/or caused or induced others to distribute or
 9   import the Bieber Photographs with knowledge of the removal of Backgrid’s
10   copyright management information, and/or distributed or imported for
11   distribution the Bieber Photographs with knowledge of the removal of copyright
12   management information in violation of 17 U.S.C. § 1202(b)(1)-(3).
13         37.    Defendants’ removal and/or alteration of copyright management
14   information for the Bieber Photographs and subsequent distribution and public
15   display of the Bieber Photographs was willful and intentional, and was and is
16   executed with full knowledge of Backgrid’s rights under copyright law, and in
17   disregard of Backgrid’s rights.
18         38.    Backgrid is entitled to recover its actual damages suffered as a result
19   of the violation and any profits of Defendants attributable to the violation and not
20   taken into account in computing actual damages, or, at Backgrid’s election,
21   statutory damages, pursuant to 17 U.S.C. § 1203(c), of up to $25,000 per act of
22   removal.
23         39.    Backgrid is entitled to recover costs and attorneys’ fees from
24   Defendants pursuant to 17 U.S.C. § 1203(b)(4) and (5).
25         40.    Defendants’ violation of 17 U.S.C. § 1202(b) has caused, and, unless
26   restrained by this Court, will continue to cause, irreparable injury to Backgrid not
27   fully compensable in monetary damages. Pursuant to 17 U.S.C. § 1203(b),
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                                         COMPLAINT
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  1   Backgrid is entitled to a preliminary and permanent injunction enjoining
  2   Defendants from further such violations.
  3                                PRAYER FOR RELIEF
  4         WHEREFORE, Plaintiff prays for judgment against Defendants as
  5   follows:
  6         1.     That the Defendants, and their officers, agents, servants, employees,
  7   and representatives, and all persons in active concert or participation with them,
  8   be permanently enjoined from copying, reproducing, displaying, promoting,
  9   advertising, distributing, or selling, or any other form of dealing or transaction in,
10    any and all Photos of Backgrid;
11          2.     That an accounting be made for all profits, income, receipts or other
12    benefit derived by Defendants from the unlawful reproduction, copying, display,
13    promotion, distribution, or sale of products and services, or other media, either
14    now known or hereafter devised, that improperly or unlawfully infringes upon
15    Plaintiff’s copyrights pursuant to 17 U.S.C. § 504 (a)(1) & (b) and 17 U.S.C. §
16    1203(c)(1)(A) & (c)(2);
17          3.     For actual damages and disgorgement of all profits derived by
18    Defendants from their acts of copyright infringement, removal, and for all
19    damages suffered by it by reasons of Defendant’s acts, under 17 U.S.C. § 504
20    (a)(1) & (b) and 17 U.S.C. § 1203(c)(1)(A) & (c)(2);
21          5.     For statutory damages for copyright infringement, including willful
22    infringement, in accordance with 17 U.S.C. § 504(a)(2) & (c), and for
23    falsification and removal of copyright management information, in accordance
24    with 17 U.S.C. § 1203(c)(1)(A) & (c)(2);
25          6.     For reasonable attorneys’ fees incurred herein pursuant to 17 U.S.C.
26    § 505 and 1203(b)(5);
27          7.     For costs and interest pursuant to 17 U.S.C. § 504 (a)(1) & (b), 17
28    U.S.C. § 505, and 17 U.S.C. § 1203(b)(4); and
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                                           COMPLAINT
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  1         8.       For any such other and further relief as the Court may deem just and
  2   appropriate.
  3
  4   Dated: May 26, 2020                     ONE LLP
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  6                                           /s/ Joanna Ardalan
                                              Joanna Ardalan
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                                              Attorneys for Plaintiff
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                                              Backgrid USA, Inc.
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  1                            DEMAND FOR JURY TRIAL
  2         Plaintiff Backgrid USA, Inc., hereby demands trial by jury of all issues so
  3   triable under the law.
  4
  5   Dated: May 26, 2020                   ONE LLP
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  7                                         /s/ Joanna Ardalan
                                            Joanna Ardalan
  8
                                            Attorneys for Plaintiff
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                                            Backgrid USA, Inc.
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